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 June 13, 2024




 Hon. Michael B. Kaplan, Chief Judge
 United States Bankruptcy Court
 District of New Jersey
 402 E. State Street, Courtroom 8
 Trenton, OH 08608



              Re: Kelly Mangus, Tammy Boswell, Travis Blankenship, et als. v. Rite
              Aid Corporation, et als.
              Adversary Case No.: 24-ap-1211



 Dear Chief Judge Kaplan;

 The Plaintiff's in the above referenced case are requesting an Alias Summons for the
 Complaint field on May 15, 2024 to be issued to the Defendants.



 Sincerely,

 /s/ Javier L. Merino, Esq.
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